          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 1 of 9


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16                             IN THE UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA

18 CHRISTOPHER WILLIAMS,                               ) Case No. 3:18-cv-4766
                                                       )
19           Plaintiff,                                ) PLAINTIFF’S ORIGINAL COMPLAINT
                                                       )
20 v.                                                  ) JURY TRIAL DEMANDED
                                                       )
21 COLLECTION BUREAU OF AMERICA,                       )
   LTD.,                                               )
22                                                     )
         Defendant.                                    )
23                                                     )

24                                PLAINTIFF’S ORIGINAL COMPLAINT

25            CHRISTOPHER WILLIAMS (“Plaintiff”), this Complaint and Demand for Jury Trial

26    (“Complaint”) against Defendant COLLECTION BUREAU OF AMERICA, LTD. (“Defendant”)

27    to stop Defendant’s practice of making illegal debt collection calls to the telephone of Plaintiff,

28    and to obtain redress for injuries caused by Defendant’s conduct. Plaintiff, for his Complaint,

     Plaintiff’s Original Complaint                     1
             Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 2 of 9



 1    alleges as follows upon personal knowledge as to himself and his own acts and experiences, and,
 2    as to all other matters, upon information and belief, including investigation conducted by his
 3    attorney.
 4                                                     INTRODUCTION
 5               1.       “The right to be let alone is indeed the beginning of all freedom."1 Plaintiff brings
 6    this action pursuant to the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).
 7               2.       Defendant is a debt collection company that engages in reckless and aggressive debt
 8    collection practices which outright ignore controlling federal law, and the rights of the called
 9    parties.
10               3.       Defendant repeatedly made unsolicited calls to Plaintiff’s cellular telephone in
11    violation of the TCPA. Defendant made the unauthorized and illegal calls to Plaintiff’s cell phone
12    using an automatic telephone dialing system (“ATDS”) or pre-recorded voice for the purpose of
13    bullying Plaintiff into paying an allegedly deficient balance. Defendant also called Plaintiff after
14    he clearly stated they did not wish to be called again.
15                                                           PARTIES
16               4.       Plaintiff CHRISTOPHER WILLIAMS is a natural person and citizen of Pittsburgh,
17    CA.
18               5.       Defendant COLLECTION BUREAU OF AMERICA, LTD is a corporation under the laws
19    of the State of California. Defendant maintains its principal office at Hayward, California and may
20    be served with process by serving its Registered Agent, Shawn Deluna, 25954 Eden Landing Rd.,
21    Hayward, CA 94545.
22               6.       Whenever in this complaint it is alleged that Defendant committed any act or
23    omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or
24    employees, subsidiaries, or affiliates committed such act or omission and that at the time such act
25    or omission was committed, it was done with the full authorization, ratification or approval of
26    Defendant or was done in the routine normal course and scope of employment of the Defendant’s
27    officers, directors, vice-principals, agents, servants, or employees.
28    1
          Public Utilities Commission v. Pollak, 343 U.S. 451, 467 (1952) (Douglas, J., dissenting).
     Plaintiff’s Original Complaint                               2
           Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 3 of 9



 1                                             JURISDICTION & VENUE
 2              7.      The Court has subject matter jurisdiction under 28 U.S.C. § 1331; this is a TCPA
 3    action.
 4              8.      The Court has personal jurisdiction over Defendant. Defendant has continuous and
 5    systematic contacts with this District through its debt collection scheme and is essentially at home
 6    here. Defendant conducts significant, ongoing business in this District and purposefully availed
 7    itself to this District. The Court has specific personal jurisdiction over Defendant because it targets
 8    this District with its wrongful, accused acts, and/or emanated those acts from this District. The
 9    exercise of personal jurisdiction over Defendant in this District does not offend traditional notions
10    of fair play or substantial justice.
11              9.      Venue is proper in this District under 28 U.S.C. § 1391(b); a substantial part of the
12    wrongful conduct giving rise to this lawsuit occurred in, was directed to, and/or emanated from this
13    District.
14                                        LEGAL BASIS FOR THE CLAIMS
15              10.     Congress enacted the TCPA in 1991 to address certain practices thought to be an
16    invasion of consumer privacy and a risk to public safety. The TCPA and the Federal
17    Communications Commission’s (“FCC”) implemented rules prohibit: (1) making telemarketing
18    calls using an artificial or prerecorded voice to residential telephones without prior express consent;
19    and (2) making any non-emergency call using an automatic telephone dialing system (“ATDS”) or
20    an artificial or prerecorded voice to a wireless telephone number without prior express consent. If
21    the call includes or introduces an advertisement, or constitutes telemarketing, consent must be in
22    writing.2 Calls that include non-marketing messages require consent, but not written consent. The
23    TCPA grants consumers a private right of action, with a provision for $500 or the actual monetary
24    loss in damages for each violation, whichever is greater, and up to three times actual damages for
25    each willful or knowing violation, as well as injunctive relief.
26

27    2
        Prior express written consent means “an agreement, in writing, bearing the signature of the person called that clearly
      authorizes the seller to deliver or cause to be delivered to the person called advertisements or telemarketing messages
28    using an automatic telephone dialing system or an artificial or prerecorded voice, and the telephone number to which
      the signatory authorizes such advertisements or telemarketing messages to be delivered. 47 C.F.R. § 64.1200(f)(8).
     Plaintiff’s Original Complaint                              3
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 4 of 9



 1            11.     Since the TCPA’s passage in 1991, the FCC has taken multiple actions
 2    implementing and interpreting the TCPA, and has issued numerous Declaratory Rulings clarifying
 3    specific aspects of the TCPA.
 4            12.     Furthermore, the TCPA established the National Do-Not-Call List, and also
 5    mandates all businesses that place calls for marketing purposes maintain an “internal” do-not-call
 6    list (“IDNC”). See 47 C.F.R. § 64.1200(d). The IDNC is “a list of persons who request not to
 7    receive telemarketing calls made by or on behalf of that [seller].” Id. The TCPA prohibits a
 8    company from calling individuals on its IDNC list or on the IDNC list of a seller on whose behalf
 9    the telemarketer calls, even if those individuals’ phone numbers are not on the National Do-Not-
10    Call Registry. Id. at § 64.1200(d)(3), (6). Any company, or someone on the company’s behalf,
11    who calls a member of the company IDNC is liable to that person under the TCPA. The called
12    party is then entitled to bring a private action under the TCPA for monetary and injunctive relief.
13            13.     Finally, in 2008, the FCC held that “a creditor on whose behalf an autodialed or
14    prerecorded message call is made to a wireless number bears the responsibility for any violation of
15    the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer
16    Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23 FCC
17    Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL 7062748
18    (Dec. 31, 2012).
19            14.     Accordingly, the entity can be liable under the TCPA for a call made on its behalf,
20    even if the entity did not directly place the call. Under those circumstances, the entity is deemed
21    to have initiated the call through the person or entity.
22                            FACTS SPECIFIC TO PLAINTIFF WILLIAMS
23            15.     Defendant’s debt collection campaign is a continuous course of conduct and a
24    pattern of practice, conducted under a common policy or program. From at least 2016, Defendant
25    engaged in an aggressive debt collection campaign (“Campaign”) that targeted people across the
26    nation. Plaintiff was directly targeted by Defendant’s Campaign.
27

28

     Plaintiff’s Original Complaint                      4
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 5 of 9



 1            16.     Beginning around June 2016, Williams began to receive calls from the numbers 855-
 2    691-0192, 855-691-0193, and 855-691-0191, all of which are associated with Defendant. Since
 3    that time, Williams has received at least 8 calls from Defendant.
 4            17.     Williams received all calls described above on his cellular telephone assigned a
 5    number ending in -4315.
 6            18.     Defendant and/or third parties on Defendant’s behalf, placed some, if not all of the
 7    calls described above using an ATDS, as defined by 47 U.S.C. § 227(a)(1) without Williams’ prior
 8    express written consent.
 9            19.     When Williams answered the calls, he heard short beeps, an automated message,
10    and then was connected with a representative.
11            20.     The purpose of the calls was to collect on a debt allegedly owed by someone to
12    Defendant.
13            21.     To the extent Williams ever provided consent to be called by an ATDS, he revoked
14    any such consent.
15            22.     Williams felt the calls were an invasion of his privacy and wanted Defendant to stop
16    calling. Defendant ignored Williams’ multiple requests and continued to call him.
17            23.     Based on the circumstances of the calls (e.g. dead air, etc.) Williams believed
18    Defendant called on his cellular telephone using an ATDS that mechanically selected his number
19    from a computer database.
20            24.     On information and belief, Defendant’s ATDS called Williams on every occasion.
21            25.     The telephone number Defendant called was assigned to a cellular telephone service
22    for which usage minutes accumulate when calls are placed to that number.
23            26.     Williams is the regular carrier and exclusive user of the cellular telephone assigned
24    the number ending in -4315.
25            27.     Defendant’s calls were not for emergency purposes under 47 U.S.C. §
26    227(b)(1)(A)(i).
27            28.     All calls Defendant made to Williams violate 47 U.S.C. § 227.
28

     Plaintiff’s Original Complaint                     5
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 6 of 9


                                         FIRST CAUSE OF ACTION
 1
                          (VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
 2                                          U.S.C. § 227, ET SEQ.)
                29.      Plaintiff hereby incorporates by reference and re-alleges each and every allegation
 3
      set forth in each and every preceding paragraph of this Complaint, as though fully set forth herein.
 4
                30.      The foregoing acts and omissions of Defendant constitute numerous and multiple
 5
      violations of the TCPA, including but not limited to each and every one of the above cited
 6
      provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. §64.1200, et seq.
 7
                31.      As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., and 47 C.F.R.
 8
      §64.1200, et seq., Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
 9
      every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
10
                32.      Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct in the
11
      future.
12
                                      SECOND CAUSE OF ACTION
13                               (KNOWING AND/OR WILLFUL VIOLATION OF
                      THE TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227, ET SEQ.)
14
                33.      Plaintiff hereby incorporates by reference and re-alleges each and every allegation
15
      set forth in each and every preceding paragraph of this Complaint, as though fully set forth herein.
16
                34.      The foregoing acts and omissions of Defendant constitute numerous and multiple
17
      knowing and/or willful violations of the TCPA, including but not limited to each and every one of
18
      the above cited provisions of 47 U.S.C. § 227, et seq. and 47 C.F.R. §64.1200, et seq.
19
                35.      As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., and 47 C.F.R.
20
      §64.1200, et seq. Plaintiff is entitled to an award of $1,500.00 in statutory damages, for each and
21
      every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22
                36.      Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct in the
23
      future.
24
                                                   JURY DEMAND
25
                37.      Plaintiff demands a jury trial on all issues triable to a jury.
26
                                               PRAYER FOR RELIEF
27
                WHEREFORE, Plaintiff prays for relief as follows:
28

     Plaintiff’s Original Complaint                          6
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 7 of 9



 1                    •   An award of $500.00 in statutory damages, for each and every negligent
 2                        violation, pursuant to 47 U.S.C. § 227, et seq.;
 3                    •   An award of $1,500.00 in statutory damages, for each and every willful and/or
 4                        knowing violation, pursuant to 47 U.S.C. § 227, et seq.;
 5                    •   Preliminary and permanent injunctive relief enjoining Defendant, its agents,
 6                        servants and employees, and all persons acting in concert with them, from
 7                        engaging in, and continuing to engage in, the unlawful calls made with
 8                        automated dialing systems to cellular phones, and enjoining Defendant from
 9                        engaging in abusive and oppressive collection practices as outlined in this
10                        Complaint.
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     Plaintiff’s Original Complaint                     7
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 8 of 9


      Dated: August 7, 2018
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                                            Respectfully Submitted,
 3
                                            SOUTHWEST LEGAL GROUP
 4

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22                                          Counsel for Plaintiff

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     Plaintiff’s Original Complaint         8
          Case 3:18-cv-04766-RS Document 1 Filed 08/07/18 Page 9 of 9



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     Plaintiff’s Original Complaint         9
